Case 1:05-cv-02533-EWN-MJW Document 64 Filed 08/03/06 USDC Colorado Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                 Judge Edward W. Nottingham

  Civil Action No. 05–cv–02533–EWN–MJW


  THOMAS MONTOYA,

         Plaintiff,

  v.

  BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO,
  in their official and individual capacities,
  CHAFFEE COUNTY SHERIFF TIMOTHY WALKER, in his official and
  individual capacity,
  CHAFFEE COUNTY DEPUTY SHERIFF SCOTT GLEN, in his official and
  individual capacity,
  DAVID PLATT, in his official and individual capacity,
  BOARD OF COUNTY COMMISSIONERS, PARK COUNTY, COLORADO, in
  their official and individual capacities,
  PARK COUNTY SHERIFF FRED WEGENER, in his official and individual
  capacity,

         Defendants.



                          ORDER OF DISMISSAL WITH PREJUDICE



         This matter is before the court on the “Unopposed Motion to Dismiss Defendant David

  Platt with Prejudice”(#63) filed August 2, 2006. The court having read the Motion to Dismiss

  Defendant David Platt filed herein, and now being fully advised in the premises, it is

         ORDERED that this action be and hereby is DISMISSED, with prejudice, as to

  Defendant David Platt, each party to pay his own costs and attorneys’fees herein expended. The
Case 1:05-cv-02533-EWN-MJW Document 64 Filed 08/03/06 USDC Colorado Page 2 of 2




  “Motion to Dismiss from the Defendant David Platt”(#60) filed August 1, 2006, is DENIED as

  moot.

          DATED this 3rd day of August, 2006.

                                                      BY THE COURT:


                                                      s/ Edward W. Nottingham
                                                      EDWARD W. NOTTINGHAM
                                                      United States District Judge




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